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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In Re:
                                                             Case No: 8:19-bk-00381-MGW
Dale Wineberger                                              Chapter 7
Danielle Wineberger

         Debtor(s).
                                      /


    CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
                 SERVICES AND LISTING AGENT TO PROCURE
      CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                Angela Welch, as Chapter 7 Trustee (the “Trustee”) for the above referenced

debtor(s) (together, the “Debtor”), files this Application for entry of an order authorizing

retention of (1) BK Global Real Estate Services (“BKRES”) under the terms set forth in the

agreement (the “BKRES Agreement”) attached to BKRES’ Affidavit of Disinterestedness (the

“BKRES Affidavit”) and (2) Lisa Ashton and Ashton Realty Group (“Listing Agent”) under the

terms of the agreement (the “Listing Agreement”) attached to Listing Agent’s Affidavit of

Disinterestedness at (the “Listing Agent Affidavit”). In support thereof, the Trustee respectfully

states as follows:

                                   PRELIMINARY STATEMENT

                Trustee requests approval to retain BKRES and Listing Agent, at no cost to the

estate, to negotiate with and persuade the first lienholder on certain real property in which the

estate has no equity to (1) allow Trustee to sell such property at the highest price that the market

will bear, (2) waive the resulting deficiency claim and (3) pay a 11 U.S.C. § 506 surcharge to

provide a carveout for the benefit of the estate and pay all other sale expenses, including a 6%




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brokerage commission that will be shared equally by BKRES and Listing Agent only upon the

closing of a sale that is approved by this Court.

                BKRES and its affiliates have proprietary technology and a national team of

experienced loan servicing specialists, asset managers, negotiators, trustee relation managers,

real estate brokers and agents, closing specialists and attorneys with extensive experience in

procuring the consent of mortgage lenders and servicers to sell over-encumbered properties and

provide significant cash recoveries to selling estates with no equity, through the Consented

Sale™ process described herein.

                The proposed agreements are attached and provide that BKRES and Listing

Agent will not be entitled to any compensation from the estate whatsoever under any

circumstances. They will only receive and share a customary brokerage commission that is paid

by secured creditor as a 11 U.S.C. § 506 surcharge approved by this Court.

                The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a

Consented Sale™ will likely result in secured creditor paying a carveout for the benefit of the

estate with proceeds from the public sale of an asset in which the estate has no equity and

(2) expects to obtain secured creditor’s agreement to a Consented Sale™, and bring a separate

motion seeking this Court’s approval of the procedures, terms and conditions by which the over-

encumbered property will be sold, within the coming months.

                                           JURISDICTION

       This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M),

(N), and (O).

       Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                          BACKGROUND


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              On January 16, 2019 the Debtor commenced this case by filing a voluntary petition for

relief under Chapter 7 of the United States Bankruptcy Code.

              Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

              The Trustee held and concluded the 341 meeting on February 19, 2019.

              The Debtor is the sole owner of real property located at 12360 Straight St., Brooksville,

FL 34614 (the “Property”). The Debtors have not claimed the Property as exempt and, upon

information and belief, the Property is vacant.

              The Debtors have no equity in the Property. The Debtors’ schedules reflect that the

Property is currently worth $ 73,956.00, but is subject to a first mortgage lien (the “Senior

Mortgage”) in favor of Mr. Cooper (the “Secured Creditors”) in an amount exceeding $

88,019.00.

              The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™1, sales analysis report and opinion of value for the Property provided by BKRES

and Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all

creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                             a. sell the Property to whichever third party Trustee determines to have made the

                                    best qualified offer during a public sale approved by the Court;

                             b. buy the Property from the Debtor’s estate if (and only if) no such offer is

                                    made;

                             c. release the Senior Mortgage and otherwise waive all of its claims against the

                                    estate with respect to the Property (including any deficiency claims resulting

                                    from the proposed sale); and

                                                            
1
 The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.


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              d. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with

                  the proposed sale, including the payment of a 6% real estate brokerage

                  commission to BKRES and Listing Agent and reimbursement of their out-of-

                  pocket expenses, and provide a carveout for the benefit of allowed unsecured

                  creditors of the Debtor’s estate.

       Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s Consent and

bring a separate motion seeking an order approving the sale of the Property (the “Motion to

Approve Sale”) within several months of the entry of the order sought by this Application.

       By this Application, the Trustee requests authority pursuant to Sections 327, 328(a) and

330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured

Creditor’s Consent, and (b) approve Secured Creditor’s payment of the fees described below

directly to BKRES and Listing Agent at closing of the sale of the Property, if and when the

Consent and Motion to Approve Sale are granted.

                                          APPLICATION

       Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor “with the

court’s approval, may employ or authorize the employment of a professional person under

section 327...on any reasonable terms and conditions of employment, including on a retainer, on

an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11 U.S.C.

§ 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a trustee… or a

professional person employed under section 327…(A) reasonable compensation for actual,

necessary services rendered [by such party]… and (B) reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1).




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              As further described in the materials attached to their affidavits, BKRES2 and Listing

Agent have extensive experience obtaining the consent and agreement of mortgage lenders and

servicers to the sale of their collateral and resolution of any resulting unsecured claims in order

to produce a recovery for estates from over-encumbered assets in which the estate has no equity.

              The Trustee believes that the highest and best value for the Property will be generated

through a sale in which the Property is widely marketed to the public and offered at the highest

price that the market will bear. The Trustee further believes that such a sale is in the best interest

of the Debtor’s estate, but can only be achieved if Secured Creditor’s Consent is first obtained.

That is why the Trustee believes that retaining BKRES and Listing Agent to obtain Secured

Creditor’s Consent is in the best interests of the Debtor’s estate.

              In no event will the estate have any obligation to pay BKRES or Listing Agent. The

terms of the BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent

are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion

to Approve Sale is granted and (c) the Property is sold, in which event BKRES and Listing

Agent will receive and share a 6% real estate brokerage commission at closing in accordance

with the order approving the sale.

              BKRES and Listing Agent will not be entitled to any fees if Secured Creditor does not

grant its Consent or the Court does not grant the Motion to Approve Sale.

              The Trustee submits that the terms of employment and compensation as set out in the

BKRES Agreement and Listing Agreement are reasonable in light of the extensive experience of

BKRES and Listing Agent and the nature of the services they provide.

              BKRES attested that it is a disinterested person within the meaning of Section 101(14) of

the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a). Attached
                                                            
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    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).


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hereto is an Affidavit of Disinterestedness of BKRES.         BKRES also attests, pursuant to

Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or entity other

than Listing Agent.

       Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto is an Affidavit of Disinterestedness of Listing Agent. Listing Agent

also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any

individual or entity other than BKRES.

                                          CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the

Court’s authority to retain BKRES and Listing Agent in this case, and requests that the Court

approve the compensation arrangements set forth in the BKRES Agreement and Listing

Agreement pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code.

                                             /s/ Angela L. Welch, Trustee
                                             Trustee Angela L. Welch
                                             12157 W. Linebaugh Avenue #401
                                             Tampa, FL 33626
                                             Tel: (813) 814-0836
 

 

                                CERTIFICATE OF SERVICE

      I certify that on April 10, 2019, a true and correct copy of the foregoing was provided by
U.S. mail and/or electronic delivery to: U.S. Trustee, ustp.region21.ecf@usdoj.gov; Gina A.
Rosato, Gina@LawGina.com; Dale and Danielle Wineberger, 12360 Straight Street,
Brooksville, FL 34614; Richard M. Dauval, Esq., rdauval@leavenlaw.com;

                                             /s/ Angela L. Welch
                                             Trustee Angela L. Welch
                                             12157 W. Linebaugh Avenue #401
                                             Tampa, FL 33626
                                             Tel: (813) 814-0836


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